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 AFFIDAVIT IN SUPPORT OF AN APPLICATION FQRitHKJSStlAlMCJaRT
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                  OF A COMPLAINT AND ARREST WARRANT


Your Affiant, Liza A. Ludovico, being duly sworn, deposes and states the following:


                TRAINING & EXPERIENCE OF YOUR AFFIANT


1.     Your Affiant has been a sworn Special Agent of the Federal Bureau of Investigation for

almost 15 years. Your Affiant has been assigned in that capacity as a Special Agent with the

Federal Bureau of Investigation (FBI) since July 2002. Your Affiant has conducted numerous

criminal investigationsof complex violent criminal conspiracies, involving murder in violation of

federal statutes including drug trafficking related murders, robberies in violation of the Hobbs Act

and murders occurring on federal enclaves. Your Affiant is currently assigned to the Norfolk FBI

Peninsula Resident Agency, Newport News, Virginia. In this position, your Affiant is responsible

for investigating various crimes, including firearms charges where a firearm has been possessed,

brandished or discharged during a federal crime of violence, and other violations of the United

States Code.


2.    Your Affiant has personally participated in the investigation of the offenses described in this

affidavit. As a result ofyour Affiant's participation in this investigation and a review ofreports made

to your Affiant by other officers, agents, and detectives involvedin the investigation, your Affiant is

familiar with the circumstances of this drug robbery/murder investigation. Your affiant has been

advised by the federal prosecutors assigned to this matter that drug dealing activity inherently

effect interstate commerce and that the robbery and/or murder of a drug dealer during the course

of a drug robbery violates Title 18, United States Code, Sections 1951 and 924(j).

3.    This affidavit by your affiant does not reveal all the facts and details that are related to this
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investigation known to your affiant. This affidavit is limited to those facts necessary to provide

the probable cause for this complaint against JOSEPH JAMES CAIN BENSON for murder with

a firearm in violation of Title 18, United States Code, Section 924(j),

                        BACKGROUND OF INVESTIGATION


4.     On March 13, 2009, at approximately 4:30 p.m., Louis Edward Joseph, a known drug

dealer, was found dead on the back patio of his home located in the Denbigh section of the City of

Newport News. Upon arrival, police found that Joseph had been beaten and shot multiple times.

Based on interviews with witnesses and police officers, detectives, crime scene investigators and

your affiant's own investigation, the following information was learned by your affiant regarding

the circumstances ofthe drug related home invasion/murder of Louis Edward Joseph.


5.     Following the report of a murder, crime scene technicians arrived and collected evidence

from the scene. They found that the exterior storm door to the front door of the home had been

pried open and the front door had been kicked open. Inside the living room, investigators found a

broken white outdoor plastic chair. The right arm of the chair was broken off and a crime scene

technician found spots of blood on the chair and took samples for DNA testing. A blood trail led

from the hallway into the kitchen. The kitchen area and den were open to one another. Additional

blood was found in the kitchen and den. The intruders had apparently ransacked the couch and

chair located in the den. The door from the den led to the back patio where the victim's body was

located. At this back door inside the den, crime scene technicians found a large amount of blood

and four .40 caliber shell casings. A quantity of green leafy substance, believed to be marijuana

was recovered in the residence. This circumstantial evidence suggests that assailants beat Joseph

in the living room and shot him in the den. Joseph then dragged himselfjust outside of the back

door and fell dead on the patio. An autopsy was conducted, in which one bullet was recovered

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from the body and one bullet was recovered from the victim's underwear. Joseph died from

between five and six gunshot wounds to the torso and thighs. The medical examiner ruled the death

a homicide.



6.     Your affiant has conducted several witness interviews that stated that prior to the robbery,

Joseph was a drug distributor and was targeted initially for a burglary of currency and controlled

substances which later became a home invasion drug robbery.


                           FACTS AND CIRCUMSTANCES


7.      In November 2009, the Virginia Department of Forensic Science found a preliminary

match from the blood on the chair at the scene implicated JOSEPH JAMES CAIN BENSON. This

linkage was made from a search of the Combined DNA Index System (CODIS) database. Based

on this match, Detectives from NNPD arrested BENSON in Boston, Massachusetts on January 12,

2010 for the murder of Louis Joseph.      BENSON was then extradited by the Newport News

Commonwealth Attorney's Office to Virginia. Due to the complexity of the investigation and the

drug related nexus, the homicide was referred to the FBI. Later, the state case against BENSON

was nolle prossed.

8.     During the arrest of BENSON in Boston, Massachusetts, state law enforcement

investigators executed a search warrant on his apartment for evidence related to the homicide and

a search warrant for a buccal swab for DNA to confirm the CODIS database results.


9.     The DNA buccal swab from BENSON obtained from the state search warrant was


submitted to the Virginia Department of Forensic Science.        The forensic report stated that

BENSON cannot be eliminated as a contributor ofthe DNA profile developed from a stained swab

taken from a plastic chair from the murder scene of Louis Joseph.
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10.     A state search warrant was executed on a cellular telephone that was seized from

BENSON'S apartment during the arrest and court authorized search executed by state law

enforcement authorities.   This search revealed BENSON's phone number and contact list. The

investigators obtained through legal process toll records and cellular tower tracking records on

BENSON'S phone.


11.    The telephone analysis showed that prior to the Joseph murder, BENSON was in contact

with telephones associated with co-conspirator 1 and co-conspirator 2, Call detail record analysis

also revealed that prior to and just after the Joseph murder, BENSON had repeated phone contact

with a phone number associated with Greyhound Bus Lines.


12.    Through legal process, your affiant obtained Greyhound Bus Line passenger ticket

information which revealed that BENSON and co-conspirator 1 travelled together from the

Boston, Massachusetts area to the Tidewater Virginia area the day before the homicide. Directly

after the homicide, both BENSON and co-conspirator 1 travelled back to Massachusetts. Cellular

tower analysis examined on a phone associated with co-conspirator 1 matched the round trip travel

route taken by Greyhound Bus Lines. This travel route also matched the round trip ticket itinerary

where BENSON and co-conspirator 1 were ticketed passengers.


13.    Interviews conducted by your affiant establish that co-conspirator 1, who was fi*om

Massachusetts was associated with co-conspirator 2, who was from Williamsburg, Virginia. Co-

conspirator 2 was introduced to co-conspirator 1 through a mutual acquaintance before the

homicide.




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14.    Through legal process, your affiant obtained call detail records on a cellular phone

associated with co-conspirator 2. Analysis of these records revealed the association of co-

conspirator 3 in the home invasion that was planned and executed on the home of Joseph.


15.    In the early evening hours, following the homicide, co-conspirator 3 initiated efforts to

dispose of both handguns used during the home invasion and murder of Joseph. Both of these

handguns were later recovered by your affiant in New York City, New York. A forensic analysis

was conducted on these firearms, which linked them to the shell casing recovered from the crime

scene and bullets recovered at autopsy.


16.    Based on the aforementioned facts, Your Affiant believes probable cause exists for the

issuance of an arrest warrant for JOSEPH JAMES CAIN BENSON for Murder with a Firearm in


violation of Title 18, United States Code Section 924(j).

       Further, Your Affiant sayeth naught.



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                                                     Liza A. Eiidovico, Special Agent
                                                     Federal Bureau of Investigation
REVIEWED:



Howard J. Howlick
Managing Assistant United States Attorney

Subscribed to and sworn before me this fO day of March, 2017



                                              Lawrence R. Leonard       /
                                              UNITED STATES MAGISTRATE JUDGE


At Norfolk, Virginia
